 Case 2:16-cv-02525-MMD-NJK             Document 440        Filed 12/23/24      Page 1 of 3



 1   Adam Hosmer-Henner, Esq. (NSBN 12779)
     Chelsea Latino, Esq. (NSBN 14227)
 2   McDONALD CARANO LLP
     100 W. Liberty Street, Tenth Floor
 3   Reno, NV 89501
     Telephone: (775) 788-2000
 4   ahosmerhenner@mcdonaldcarano.com
     clatino@mcdonaldcarano.com
 5
     Timothy C. Hester (admitted pro hac vice)
 6   Ashley E. Bass (admitted pro hac vice)
     COVINGTON & BURLING LLP
 7
     One CityCenter
 8   850 Tenth Street NW
     Washington, D.C. 20001
 9   Telephone: (202) 662-6000
     thester@cov.com
10   abass@cov.com
11   Attorneys for Plaintiffs Amarin Pharma, Inc. and
     Amarin Pharmaceuticals Ireland Limited
12

13                               UNITED STATES DISTRICT COURT

14                                      DISTRICT OF NEVADA
15

16      AMARIN PHARMA, INC. and AMARIN                     Case No. 2:16-cv-02525-MMD-NJK
        PHARMACEUTICALS IRELAND
17      LIMITED,
                                                           PLAINTIFFS’ MOTION TO UNSEAL
18                 Plaintiffs,                             AND SUBSTITUTE EXHIBIT D TO
                                                           PLAINTIFFS’ MOTION TO
19
            v.                                             ENFORCE THE SETTLEMENT
20                                                         AGREEMENT AND ENJOIN
        TEVA PHARMACEUTICALS USA, INC.,                    DEFENDANT TEVA
21                                                         PHARMACEUTICALS USA, INC.
                   Defendant.                              [ECF No. 423-4]
22

23

24

25          Plaintiffs Amarin Pharma, Inc. and Amarin Pharmaceuticals Ireland Limited (“Plaintiffs”),

26   by and through their counsel of record, hereby request that this Court unseal and substitute Exhibit

27   D to Plaintiffs’ Motion to Enforce the Settlement Agreement and Enjoin Defendant Teva

28   Pharmaceuticals USA, Inc. (ECF No. 423-4).
 Case 2:16-cv-02525-MMD-NJK             Document 440       Filed 12/23/24      Page 2 of 3



 1                      MEMORANDUM OF POINTS AND AUTHORITIES

 2          Plaintiffs make this request pursuant to this Court’s Order dated December 3, 2024, wherein

 3 this Court required Plaintiffs to “move to unseal the documents currently sealed on the docket of

 4 the District of New Jersey (ECF Nos. 423-4, 436-1) if that court unseals them.” ECF No. 438 at

 5 4:16-18. The transcript of a telephone conference from the New Jersey action, which Plaintiffs filed

 6 as Exhibit D to Plaintiffs’ Motion to Enforce the Settlement Agreement and Enjoin Defendant Teva

 7 (ECF No. 423-4), has been unsealed in the New Jersey action. See Teva Pharms. USA, Inc. v.

 8 Amarin Pharma, Inc., No. 24-4341, ECF No. 21. Plaintiffs therefore request that this Court unseal

 9 ECF No. 423-4 consistent with this Court’s Order and substitute the unsealed version of the

10 transcript of the telephone conference, attached as Exhibit A to this Motion.

11          Dated: December 20, 2024.

12                                               MCDONALD CARANO LLP

13                                                /s/Adam Hosmer-Henner
                                                 Adam Hosmer-Henner (12779)
14                                               Chelsea Latino (NSBN 14227)
15                                               100 W. Liberty St. 10th Floor
                                                 Reno, NV 89501
16
                                                 Timothy C. Hester (admitted pro hac vice)
17                                               Ashley E. Bass (admitted pro hac vice)
                                                 COVINGTON & BURLING LLP
18                                               One CityCenter
19                                               850 Tenth Street NW
                                                 Washington, D.C. 20001
20
                                                 Attorneys for Plaintiffs Amarin Pharma, Inc. and
21                                               Amarin Pharmaceuticals Ireland Limited
22

23

24

25

26
27

28

                                                     2
 Case 2:16-cv-02525-MMD-NJK      Document 440        Filed 12/23/24   Page 3 of 3



 1                                INDEX OF EXHIBITS

 2
     Exhibit No.                       Description                            Pages
 3
                   Transcript of Teleconference held on 5/2/2024, Teva
 4                 Pharms., USA Inc. v. Amarin Pharma Inc., No. 24-4341
         A                                                                      13
                   (RK)(TJB), ECF No. 21 (previously attached as ECF No.
 5                 423-4 in sealed form)
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18
19

20

21

22

23

24

25

26
27

28

                                              3
